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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

TERRETTA WEBB,

 

Plaintiff,
vs. No. 1:04-CV-1288 T/An
STANLEY .IONES REALTY, INC.,

Defendant.

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ORDER DENYING MOTION TO AMEND COl\/[PLAINT AND/OR
TO FILE A FIRST Al\/IENDED COMPLAINT

 

Before the Court is Plaintiff’s Motion to Amend Complaint and/or to File a First
Amended Complaint and Memorandum in Support Thereof filed on August 25, 2005 . PlaintifiC
failed to attach a copy of her Amended Complaint. A pleading may be amended “only by leave
of court . . . and leave shall be freely given when justice so requires.” Fed. R. Civ. P. lS(a). In
order to determine whether justice so requires, “the court must have before it the substance of the
proposed amendment.’1 Roskam Baking Co. v. Lcmham Machinery Co., 288 F.3d 895, 906 (6th
Cir. 2002). Moreover, “[a]lthough the Civil Rules do not expressly deal with the manner of
presentation of amendments to pleadings, there is substantial authority . . . that Civil Rules
7(b)(1) and 15(a) impliedly require submission of the proposed amended pleading with the
motion to amend.” Nation v. United States, 512 F. Supp. 121, 124 (S.D. Ohio 1981); see also
Bownes v. City ofGary, Ind., 112 F.R.D. 424, 425 (N.D. Ind. 1986); 6 Charles Alan Wright et
al., Fea’eral Practice and Procedure § 1485 (2d ed. 1990). In the present case, Plaintiff did not

attach a copy of the proposed amendment, and it is not possible to determine the “substance of

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with Rule 58 and/or 79 (a) FHCP on_mL

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the proposed amendment” from the document Plaintiff filed.l Plaintiff’s Motion should thus be
denied.

Therefore, the motion is DENIED Without prejudice. PlaintiflC may re-file the instant Motion
with a copy of her proposed Arnended Complaint attached

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED S TES MAGISTRATE JUDGE

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DATE

 

iAdditionally, because the District Court has previously dismissed P]aintiff’s slander
claim, it is even more incumbent that the Plaintiff attach a copy of any proposed amendment

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 1:04-CV-01288 was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

Mark E. Stamelos
KING & BALLOW

315 Union Street

1 100 Union Street Plaza
Nashville, TN 37201

Stephen H. Biller

THE BOGATIN LAW FIRM
1661 International Place Dr.
Ste. 300

1\/1emphis7 TN 38120

Honorable J ames Todd
US DISTRICT COURT

